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  11   Resonant Inc., Terry Lingren, John E. Major,
       Robert B. Hammond, Janet K. Cooper,
  12   Rick Kornfeld, and Thomas R. Joseph
  13   [Additional Counsel Listed on Signature Page]
  14
  15                        UNITED STATES DISTRICT COURT
  16                      CENTRAL DISTRICT OF CALIFORNIA
  17                               WESTERN DIVISION
  18   LISA DOYLE, DERIVATIVELY AND              Case No. 15-CV-07568-SJO (MRWx)
       ON BEHALF OF RESONANT, INC.,
  19
                   Plaintiff,                    NOTICE OF PROPOSED
  20                                             SETTLEMENT
                   v.
  21
  22   TERRY LINGREN, et al.,
  23                      Defendants,
  24                      and
  25   RESONANT INC.,
  26                      Nominal Defendant.
  27
  28
                                                              NOTICE OF PROPOSED SETTLEMENT
                                                                CASE NO. 15-CV-07568-SJO (MRWX)
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   1   TO THE COURT:
   2         In accordance with Local Rule 16-15.7, the undersigned parties hereby submit
   3   this Notice of Proposed Settlement to notify the Court that Plaintiff Lisa Doyle,
   4   Defendants Terry Lingren, John E. Major, Robert B. Hammond, Janet K. Cooper,
   5   Rick Kornfeld and Thomas R. Joseph, and nominal defendant Resonant Inc.
   6   (collectively, the “Parties”) have reached an agreement in principle to settle this
   7   action, subject to the Court’s approval.
   8         In light of the proposed settlement, the Parties request that the Court adjourn
   9   the Status Conference currently set for December 4, 2017. Plaintiff will file a motion
  10   for preliminary approval of the proposed settlement within thirty (30) days of the
  11   submission of this Notice of Proposed Settlement.
  12
  13 Dated: November 15, 2017         ORRICK, HERRINGTON & SUTCLIFFE LLP
  14
  15                                  By:               /s/ James N. Kramer
                                                           James N. Kramer
  16
                                      Attorneys for Defendants
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  18
       Dated: November 15, 2017       THE ROSEN LAW FIRM, P.A.
  19
  20
                                      By:           /s/ Laurence M. Rosen
  21                                                  Laurence M. Rosen
  22                                  Attorneys for Plaintiff
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                                                                      NOTICE OF PROPOSED SETTLEMENT
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